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                       EXHIBIT B
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Stein, Micah D.

From:                                    Aundrea K Gulley <agulley@gibbsbruns.com>
Sent:                                    Thursday, March 07, 2019 4:44 PM
To:                                      Nemelka, Michael N.; SERVICE-EXTERNAL-DMS-MDL
Cc:                                      Reynolds Team
Subject:                                 RE: In re DMS -- MDL Plaintiffs Witness Correspondence


**EXTERNAL SENDER**

Mike and Peggy,

Below you have nominated eleven third party corporations. Please let Defendants know which seven of them you will
seek to depose and provide us with their topics or witness identifications.

As we discussed at the meeting last Wednesday and represented to the Court, we are working to complete discovery by
April 30. That representation to the Court was made in reliance on your express representation that you “will have to
make choices” (as Mike said in the meeting) about the third parties that you will depose. Though we do not see how the
currently nominated witnesses can be completed by April 30 at this point, that is not even theoretically possible with the
nomination of 11 more third parties. We specifically discussed this issue in our meeting last week, and noted that our
agreement to April 30 was contingent on your agreement not to do what you have done below.

There are 8 weeks left in the schedule, as Mike noted in the meeting. You have SIS nominated for next week. Please let
us know promptly which 7 of the companies listed below you intend to try to depose during the discovery period -- or, if
we are at an impasse on this issue so that we can bring it to the Court’s attention.

Thank you,
Andi

Aundrea K. Gulley | Gibbs & Bruns LLP | 1100 Louisiana Suite 5300 | Houston, TX 77002 | 713.650.8805 firm | 713.751.5258 direct | 713.750.0903
fax | agulley@gibbsbruns.com | www.gibbsbruns.com




From: Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent: Wednesday, March 6, 2019 11:58 PM
To: SERVICE-EXTERNAL-DMS-MDL <SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com>
Subject: In re DMS -- MDL Plaintiffs Witness Correspondence

Dear Counsel,

Per our agreement regarding disclosing third parties, MDL Plaintiffs intend to depose the third parties identified
below. To the extent not provided below, we are working on proposed dates and will forward them for consideration as
soon as possible.

    1.   AutoAlert, LLC
    2.   Dealer-FX Inc.
    3.   TimeHighway.com Inc.
    4.   IFM Americas Inc.
    5.   DealerSocket, Inc.
    6.   Group1 Automotive, Inc.
                                                                       1
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     7. Sunroad Auto LLC
     8. Allan Stejskal
             a. March 28 in Fontana, Wisconsin
     9. Priority 1 Automotive Group
     10. Boch Automotive
     11. StoneEagle.com, Inc.

Please also find attached the Rule 30(b)(6) deposition notices for CDK, Reynolds, and CVR.

Thanks,
Mike



Michael N. Nemelka
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M. St. N.W., Suite 400
Washington, DC 20036
Direct: (202) 326-7932
mnemelka@kellogghansen.com
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